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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

IN RE ZOOM VIDEO
COMMUNICATIONS, INC. Consol. C.A. No.: 20-cv-797-GBW
STOCKHOLDER DERIVATIVE
LITIGATION

AMENDED REVISED PRELIMINARY APPROVAL ORDER

This matter came before the Court for a hearing on February 6, 2025. Plaintiff Suzanne
Flannery has made an unopposed motion, pursuant to Rule 23.1 of the Federal Rules of Civil
Procedure, for an order: (i) preliminarily approving the proposed settlement (“Settlement”) of
stockholder derivative claims, in accordance with the Stipulation of Settlement dated January 14,
2025 (the “Stipulation”); (ii) approving the form and manner of providing notice of the Settlement
to Current Zoom Stockholders; and (iii) setting a date for the Settlement Hearing.

WHEREAS, the Stipulation sets forth the terms and conditions for the Settlement,
including, but not limited to a proposed Settlement and dismissal of the above-captioned,
consolidated derivative action, titled Jn re Zoom Video Communications, Inc. Stockholder
Derivative Litigation (the “Derivative Action’’);

WHEREAS, the Court having: (i) read and considered Plaintiff's Unopposed Motion for
Preliminary Approval of Stockholder Derivative Settlement together with the accompanying
Memorandum of Law; (ii) read and considered the Stipulation, as well as all the exhibits attached
thereto; and (iii) heard and considered arguments by counsel for the Settling Parties in favor of

preliminary approval of the Settlement;

' Except as otherwise expressly provided below or as the context otherwise requires, all capitalized
terms contained herein shall have the same meanings and/or definitions as set forth in the
Stipulation.
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WHEREAS, the Court finds, upon a preliminary evaluation, that the proposed Settlement
falls within the range of possible approval criteria, as it provides a beneficial result for Zoom and
appears to be the product of serious, informed, non-collusive negotiations overseen by an
experienced mediator; and

WHEREAS, the Court also finds, upon a preliminary evaluation, that Zoom stockholders
should be apprised of the Settlement through the proposed form of notice, allowed to file
objections, if any, thereto, and appear at the Settlement Hearing.

NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED AS
FOLLOWS:

l. This Court, for purposes of this Preliminary Approval Order, adopts the definitions
set forth in the Stipulation.

2. This Court preliminarily approves, subject to further consideration at the Settlement
Hearing described below, the Settlement as set forth in the Stipulation as being fair, reasonable,
and adequate.

3. A hearing shall be held on July 1, 2025 at 11:00 am., before the
Honorable Gregory B. Williams, at the U.S. District Court for the District of Delaware, J. Caleb
Boggs Federal Building, 844 North King Street, Courtroom 6B, Wilmington, Delaware 19801 (the
“Settlement Hearing”), at which the Court will determine: (i) whether the terms of the Stipulation
should be approved as fair, reasonable, and adequate; (ii) whether the Long-Form Notice and
Summary Notice fully satisfied the requirements of Rule 23.1 of the Federal Rule of Civil
Procedure and the requirements of due process; (iii) whether all Released Claims against the
Released Persons should be fully and finally released; (iv) whether the agreed-to Fee and Expense

Amount should be approved; and (v) such other matters as the Court may deem appropriate.
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4, The Court finds that the form, substance, and dissemination of information
regarding the proposed Settlement in the manner set out in this Preliminary Approval Order
constitutes the best notice practicable under the circumstances and complies fully with Rule 23.1
of the Federal Rules of Civil Procedure and due process.

5. Within fourteen (14) business days after the entry of this Preliminary Approval
Order, Zoom shall cause: (a) the Stipulation and Long-Form Notice to be filed with the SEC along
with an SEC Form 8-K or other appropriate filing (“Settlement Form 8-K”), (b) the Summary
Notice to be published one time in the national edition of Investors’ Business Daily, and (c) the
Settlement Form 8-K and its attachments to be published on the “Investor Relations” portion of
the Company’s website, which shall remain posted thereto through at least the Effective Date of
the Settlement.

6. All costs incurred in the filing and publication of the Long-Form Notice and
Summary Notice shall be paid by Zoom, and Zoom shall undertake all administrative
responsibility for the filing, publication, and posting of the Long-Form Notice and Summary
Notice.

7. At least thirty (30) calendar days prior to the Settlement Hearing, Defendants’
Counsel shall file with the Court an appropriate affidavit or declaration with respect to filing,
publishing, and posting the Long-Form Notice and Summary Notice as provided for in paragraph
5 of this Preliminary Approval Order.

8. All Current Zoom Stockholders shall be subject to and bound by the provisions of
the Stipulation and the releases contained therein, and by all orders, determinations, and judgments
in the Derivative Action concerning the Settlement, whether favorable or unfavorable to Current

Zoom Stockholders.
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9. Pending final determination of whether the Settlement should be approved, Plaintiff
and Current Zoom Stockholders shall not commence or prosecute against any of the Released
Persons any action or proceeding in any court or tribunal asserting any of the Released Claims.

10. Any stockholder of Zoom common stock may appear and show cause, if he, she, or
it has any reason why the Settlement embodied in the Stipulation should not be approved as fair,
reasonable, and adequate, or why a judgment should or should not be entered hereon, or the Fee
and Expense Amount or service awards should not be awarded. However, no Zoom stockholder
shall be heard or entitled to contest the approval of the proposed Settlement, or, if approved, the
Judgment to be entered hereon, unless that Zoom stockholder has caused to be filed, and served
on counsel as noted below, written objections stating all supporting bases and reasons for the
objection, and setting forth proof of current ownership of Zoom stock and ownership of Zoom
stock as of January 14, 2025 as well as documentary evidence of when such stock ownership was
acquired,

11. At least fourteen (14) calendar days prior to the Settlement Hearing set for
July 1, 2025, any such person must file the written objection(s) and corresponding materials
with the Clerk of the Court, U.S. District Court for the District of Delaware, J. Caleb Boggs
Federal Building, 844 North King St., Unit 18, Wilmington, Delaware 19801-3570 and serve

such materials by that date, to each of the following Settling Parties’ counsel:

Co-Lead Counsel for Plaintiff: Counsel for Defendants:
ROBBINS LLP COOLEY LLP

Kevin A. Seely Ryan Blair

5060 Shoreham Place, Suite 300 3175 Hanover Street

San Diego, CA 92122 , Palo Alto, CA 94304
Telephone: (619) 525-3990 Telephone: (650) 843-5535
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GAINEY MCKENNA & EGLESTON
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12. Only stockholders who have filed with the Court and sent to the Settling Parties’
counsel valid and timely written notices of objection will be entitled to be heard at the hearing
unless the Court orders otherwise.

13. Any Person or entity who fails to appear or object in the manner provided herein
shall be deemed to have waived such objection and shall forever be foreclosed from making any
objection to the fairness, reasonableness, or adequacy of the Settlement and to the Fee and Expense
Amount and service awards, unless otherwise ordered by the Court, and shall be forever bound by
the Judgment to be entered and the releases to be given as set forth in the Stipulation.

14. Plaintiff shall file the motion for final approval of the Settlement at least twenty-
eight (28) calendar days prior to the Settlement Hearing. If there is any objection to the Settlement,
Plaintiff shall file a response to the objection(s) at least seven (7) calendar days prior to the
Settlement Hearing.

15. All proceedings in the Derivative Action are stayed until further order of the Court,
except as may be necessary to implement the Settlement or comply with the terms of this
Stipulation.

16. This Court may, for good cause, extend any of the deadlines set forth in this

Preliminary Approval Order without further notice to Zoom stockholders.
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17. Neither the Stipulation nor the Settlement, nor any act performed or document
executed pursuant to or in furtherance of the Stipulation or the Settlement: (i) is or may be deemed
to be or may be offered, attempted to be offered or used in any way by the Settling Parties or any
other Person as a presumption, a concession or an admission of, or evidence of, any fault,
wrongdoing or liability of the Settling Parties or Released Persons, or of the validity of any
Released Claims; or (ii) is intended by the Settling Parties to be offered or received as evidence or
used by any other person in any other actions or proceedings, whether civil, criminal, or
administrative, other than to enforce the terms therein.

18. | The Court reserves: (i) the right to approve the Settlement, with such modifications
as may be agreed to by counsel for the Settling Parties consistent with such Settlement, without
further notice to Zoom stockholders; and (ii) the right to continue or adjourn the Settlement
Hearing from time to time or by oral announcement at the hearing or at any adjournment thereof,
without further notice to Zoom stockholders. The Court may decide to hold the Settlement Hearing
by telephone or video conference without further notice to the Zoom stockholders. Any Zoom
stockholder (or his, her, or its counsel) who wishes to appear at the Settlement Hearing should
consult the Court’s docket and/or “Investor Relations” portion of Zoom’s website for any change
in date, time, or format of the Settlement Hearing.

IT IS SO ORDERED.

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HONORABLE GREGORY B. WILLIAMS
U.S. DISTRICT JUDGE
